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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA

PANAMA CITY DIVISION
IN RE: ARTHUR T. SIMPSON, JR. Chapter 13
Debtor. Case No.: 18-50206-KKS

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RESPONSE TO MOTION FOR STAY OF CASE IN LIGHT OF LAPSE OF
APPROPRIATIONS (Doc 30)

NOW COMES the Debtor, Arthur T. Simpson, Jr. and Responds to the Motion For Stay

of Case in Light of Lapse of Appropriations (Doc 30) as follows:

The First Amended Plan (Doc 31) provides for all allowed claims to be paid in full by the

trustee.

WHEREFORE, the Debtors pray the Court will deny the Motion For Stay of Case in Light

of Lapse of Appropriations and that the debtor have such other and further relief as is just.

Dated this Ja vio 10, 2o\7

 

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ATTORNEY FOR DEBTOR
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CERTIFICATE OF SERVICE

{ HEREBY certify that a copy of the foregoing notice has been furnished to Leigh D.
Hart, Chapter 13 Trustee, and to all parties of interest registered with ECF, on the same date as
reflected as the electronic filing date of this document.

Electronic Service to:
¢ Elizabeth Eckhart  eeckhart@logs.com, electronicbankruptcynotices@logs.com
¢ LeighD. Hart Idhdock@earthlink.net, Idhtre@earthlink.net;ldhadmin@earthlink net

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/s/ Mb Hatt

CHARLES M. WYNN

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